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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF LOUISIANA

    LASHAWN JONES, ET AL.                             CIVIL ACTION NO. 12-859

    VERSUS                                            SECTION I, DIVISION 5

    MARLIN GUSMAN, ET AL.                             JUDGE LANCE M. AFRICK
                                                      MAGISTRATE JUDGE NORTH


                             NOTICE OF SUPPLEMENTAL EXHIBITS

        NOW INTO COURT, through undersigned counsel, comes Third-Party Defendant City

of New Orleans (the “City”), who respectfully submits this Notice of Supplemental Exhibits and

represents as follows:

        During proceedings for the hearing on the City’s Motion for Relief at Rec. Doc. 1281, 1 the

Court heard testimony from the City’s witnesses regarding the City’s ability to redirect FEMA

funds to support the planning, design, and construction of proposed alternatives to Phase III. The

Court thereafter authorized the City to submit documentary support for the witnesses’ assertions.

Pursuant to the Court’s instruction, the City hereby respectfully submits this Notice to supplement

the record with correspondence between the City and FEMA regarding alternate uses of FEMA

funds.2 The City is also providing a related project delivery comparison schedule. 3

                                             Respectfully submitted,


                                             __/s/ Sunni J. LeBeouf________________
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1
  See Rec. Doc. 1345.
2
  Attached hereto as Exhibit A.
3
  Attached hereto as Exhibit B.


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                                             - and -
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                                            Counsel for the City of New Orleans



                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on October 14, 2020, a copy of the foregoing was served,

contemporaneously or prior, upon counsel to all parties to this proceeding via the court’s CM/ECF

system.

                                                           /s/ Sunni J. LeBeouf
                                                           SUNNI J. LEBEOUF




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